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           EXHIBIT 23
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Analysis of Scheduled Airline Traffic
COMPARATIVE TRAFFIC REPORT                                                                                             San Francisco International Airport
May 2024

                                                                                    Monthly Comparison                                          Fiscal Year-to-Date
                                                               May 2024               May 2023          % Change                 FY 23/24            FY 22/23    % Change
Air Traffic Control Tower Operations Count1                         30,669                 33,929           -9.6%                     349,267          336,513       3.8%
            Air Carrier                                             28,511                 30,199              -5.6%                  319,079          295,856        7.8%
                Air Taxi                                              1,438                 2,838            -49.3%                    21,485           30,736      -30.1%
                Civil                                                   475                   691            -31.3%                     6,256            7,330      -14.7%
                Military                                                245                   201             21.9%                     2,447            2,591        -5.6%


Total Revenue Landings                                              14,754                 15,438              -4.4%                  164,031          152,133        7.8%
         Mainline Passenger                                         12,031                 11,650               3.3%                  124,154          116,774        6.3%
         Commuter Passenger                                           2,489                 3,565            -30.2%                    37,425           32,921        13.7%
         Cargo Only                                                     234                   223               4.9%                    2,452            2,438        0.6%


Revenue Landed Weight (000 lbs.)                                 3,042,693             2,922,512                4.1%             32,386,175         29,325,994        10.4%


Total Airport Passengers2                                        4,510,768             4,379,519                3.0%             46,632,357         42,370,422        10.1%

      Total Enplaned & Deplaned                                  4,498,408             4,368,053                3.0%             46,482,767         42,239,556        10.0%
         Total Enplaned                                          2,261,423             2,194,151                3.1%             23,135,905         21,020,007        10.1%
         Total Deplaned                                          2,236,985             2,173,902                2.9%             23,346,862         21,219,549        10.0%

            Domestic                                             3,125,864             3,158,885               -1.0%             32,857,628         31,065,531        5.8%
                Enplanements                                     1,542,895             1,564,568               -1.4%             16,395,738         15,481,823        5.9%
                Deplanements                                     1,582,969             1,594,317               -0.7%             16,461,890         15,583,708        5.6%

            International                                        1,372,544             1,209,168              13.5%              13,625,139         11,174,025        21.9%
                Enplanements                                       718,528               629,583              14.1%               6,740,167          5,538,184        21.7%
                Deplanements                                       654,016               579,585              12.8%               6,884,972          5,635,841        22.2%


Total U.S. Mail (metric tons)                                         1,080                 1,350            -20.0%                    15,950           23,652      -32.6%
      Domestic                                                          518                   883            -41.3%                     9,080           18,950      -52.1%
      International                                                     562                   467             20.3%                     6,870            4,702        46.1%


Total Cargo3 (metric tons)                                          50,422                 35,323             42.7%                   465,427          387,309        20.2%
  Domestic                                                          16,377                 12,986             26.1%                   171,433          148,347        15.6%
      International                                                 34,045                 22,337             52.4%                   293,994          238,962        23.0%


Total Cargo and U.S. Mail (metric tons)                             51,503                 36,674             40.4%                   481,377          410,962        17.1%


Cars Exited (Garage and Lot)                                       283,630               278,349                1.9%              2,880,796          2,718,187        6.0%

1
    Categories defined as follows:
         Air Carrier - Commercial airlines and charters of aircraft with more than 60 seats (Terminal and FBO operations included).
         Air Taxi - Commercial airlines and charters of aircraft with 60 seats or less (Terminal and FBO operations included).
         Civil - Privately operated aircraft
         Military - Military Aircraft
2
    Total airport passengers include total enplaned and deplaned passengers and passengers who fly into and out of SFO on the same aircraft.
3
    Excludes mail




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Analysis of Scheduled Airline Traffic
INTERNATIONAL SUMMARY REPORT                                                                                 San Francisco International Airport
May. 2024



                                                                             Monthly Comparison                                         Fiscal Year-to-Date
                                                             May 2024            May 2023        % Change                 FY 23/24             FY 22/23      % Change
International Flight Operations                                    6,898               6,102        13.0%                     69,372               57,428       20.8%
Domestic Carriers                                                  2,742               2,410           13.8%                  28,428               22,434       26.7%
Foreign Flag Carriers                                              4,154               3,692           12.5%                  40,942               34,994       17.0%


Total Airport International Passengers **                     1,383,356           1,219,890            13.4%             13,750,767           11,290,659        21.8%

Total International Enplaned and Deplaned                     1,372,544           1,209,168            13.5%             13,625,139           11,174,025        21.9%

   Europe                                                       389,142             378,143             2.9%               3,612,346            3,453,709        4.6%
      Enplanements                                              211,101             204,236             3.4%               1,792,766            1,707,169        5.0%
      Deplanements                                              178,041             173,907             2.4%               1,819,580            1,746,540        4.2%

   Asia/Middle East                                             593,236             466,431            27.2%               5,736,511            3,926,290       46.1%
      Enplanements                                              312,932             240,529            30.1%               2,816,335            1,939,979       45.2%
      Deplanements                                              280,304             225,902            24.1%               2,920,176            1,986,311       47.0%

   Australia/Oceania                                              66,567              60,945            9.2%                 916,197              734,141       24.8%
      Enplanements                                                32,108              28,104           14.2%                 451,958              364,670       23.9%
      Deplanements                                                34,459              32,841            4.9%                 464,239              369,471       25.6%

   Latin America                                                148,293             133,067            11.4%               1,659,861            1,512,075        9.8%
      Enplanements                                                73,884              66,183           11.6%                 831,676              758,880        9.6%
      Deplanements                                                74,409              66,884           11.3%                 828,185              753,195       10.0%

   Canada                                                       175,306             170,582             2.8%               1,700,224            1,547,810        9.8%
      Enplanements                                                88,503              90,531           -2.2%                 847,432              767,486       10.4%
      Deplanements                                                86,803              80,051            8.4%                 852,792              780,324        9.3%


Total International Cargo & Mail (metric tons)                    34,607              22,805           51.8%                 300,864              243,665       23.5%
   Europe                                                          6,426               5,091           26.2%                  67,717               69,009        -1.9%
   Asia/Middle East                                               25,063              15,489           61.8%                 201,301              153,090       31.5%
   Australia/Oceania                                               3,034               1,914           58.5%                  30,087               18,984       58.5%
   Latin America                                                       54                  49          10.5%                      592                  538      10.0%
   Canada                                                              31                 262         -88.3%                    1,167                2,044      -42.9%




** Total airport international passengers include total enplaned and deplaned passengers and passengers who fly into and out of SFO on the same aircraft




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